917 F.2d 62
    135 L.R.R.M. (BNA) 2872, 286 U.S.App.D.C. 348
    Unpublished DispositionNOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.COLUMBIA TEXTILE SERVICES, INC., Petitioner,v.NATIONAL LABOR RELATIONS BOARD, Respondent.
    No. 89-1363.
    United States Court of Appeals, District of Columbia Circuit.
    Oct. 30, 1990.
    
      Before HARRY T. EDWARDS, STEPHEN F. WILLIAMS and CLARENCE THOMAS, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      This cause came to be heard on a petition for review and a cross-application for enforcement of the National Labor Relations Board's Decision, Order, and Direction in Columbia Textile Services, Inc., 293 N.L.R.B. No. 127 (1989).  The case was briefed and argued by counsel for petitioner, Columbia Textile Services, Inc., and counsel for the Board.  The issues have been accorded full consideration by the Court and occasion no need for a published opinion.  See D.C.Cir.Rule 14(c).
    
    
      2
      On the record before us, we reject the petition for review, substantially for the reasons given by the Board in its Decision, Order, and Direction.  The Board's decision is supported by substantial evidence, consistent with agency precedent and without legal error.  See Redd-I, Inc., 290 N.L.R.B. No. 140 (1988);  see also Sonicraft v. NLRB, 905 F.2d 146 (7th Cir.1990), petition for cert. filed (U.S. Sept. 10, 1990) (No. 90-434).  Accordingly, it is hereby
    
    
      3
      ORDERED and ADJUDGED, by the Court, that the petition for review is denied, and the Board's cross-application for enforcement is granted.
    
    
      4
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir. Rule 15.
    
    